IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, _) Case No. 1:23-mj-00108-DKG
)
Plaintiff, )
)

vs. ) DEFENDANT’S ASSERTION OF

) FIFTH AND SIXTH AMENDMENT
Timber Roberts RIGHTS

Defendant. )
)

 

I, the above-named defendant hereby assert my rights under the Fifth and
Sixth Amendments of the United States Constitution, including but not limited to
my rights to remain silent and to have counsel present at any and all of my
interactions with the government or others acting on the government’s behalf. I do
not wish to, and will not, waive any of my constitutional rights except in the
presence of counsel. I do not wish to have, nor do I consent to, any contact with any
government official, state or federal, including but not limited to law enforcement
agents, except through my counsel. I do not want the government or others acting
on the government’s behalf to question me, or to contact me seeking a waiver of any
rights, unless my counsel is present. The Government should so instruct its agents.

This is meant to apply to any and all legal matters and/or investigations.

Dated this ZZ day of Mesy , 2023.

 

Respectfully,
Defendant Attorney
Assertion of Fifth and Sixth -1-

Amendment Rights

 
